Case 3:06-cv-01693-P Document 22-2 Filed 05/21/07 Page1of50 PagelD 95

Exhibit A
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IN THE UNITED STATES DISTRICT COURT
IN AND FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

TYLER TECHNOLOGIES, INC. §
§

Plaintiff, § Case Number: 3-06CV1693-P
§
VS. §
§
VIRTUAL IMPACT PRODUCTIONS, §
INC., §
8
Defendant §

DEFENDANT’S INITIAL DISCLOSURES
TO: Plaintiff Tyler Technologies, Inc., by and through its attorney of record John W. Patton
and Megan K, Dredia of Hughes and Luce, L.L.P., 1717 Main Street, Suite 2800, Dallas,

Texas, 75201,

Pursuant to Federal Rule of Civil Procedure 26(a\1), Defendant submits the following
initial disclosures. Defendant reserves the Tight to supplement these disclosures pursuant to
Federal Rule Civil Procedure 26(e).

PERSONS WITH KNOWLEDGE
I. Michelle Robinson

Virtual Impact Productions 607 St.

Andrews Drive Sarasota, Florida
34243

Knowledge and information regarding the patent in question as well as development
and actions subsequent to patent which are in controversy with Plaintiff.

2. Stephanie Robinson
Virtual Impact Productions
607 St. Andrews Drive
Sarasota, Florida 34243

Knowledge and information regarding the patent in question as well as development

and actions subsequent to patent which are in controversy with, Plaintiff.
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3. Robert Slider
Virtual Impact Productions 607 St.
Andrews Drive Sarasota, Florida
34243
Knowledge and information concerning software involving institutions. Defendant has
not filed a counter-claim for patent infringement, Defendant is merely defending the
declaratory action and will supplement or amend as required.

Il. DESCRIPTION OF DOCUMENTS

Pursuant to Federal Rule 26(a)(1)(B), relevant documents within Defendant's custody or
control include (1) copy of the patent at issue; (2) Mazik Emails, May 11, 2005 (Chip Cooper-
Atty), June 1, 2005, June 2, 2005, July 7, 2005 (Sid), July 11, 2005 (Sid); (3) Contract Proposals:
May, 2005-Draft Contract for "Joint Partnership Agreement: by Mazik, June 27, 2005 Draft for
"Joint Program Partnership Agreement” by VIP; (4) February 15, 2005-Mazik incorporation doc:
(5) February 1, 2006-Form K-8:Tyler acquisition of Mazik; (6) August 21, 2006-Copy of
Tylerworks website pages-Assignments-online, VIP at Partners?; (7) September 7, 2006-VIP
Demand letter to Tyler; (8) September 8, 2006-AME Info; InnoKAT/Mazik News release (web).
Additional material is being searched and will upon discovery immediately disclosed to
Plaintiff. Since Plaintiff has pled no set of facts other than a prayer for relief based upon a
demand letter of Defendant, additional supplementation maybe required as Plaintiffs position is
clarified.

IIL INSURANCE AGREEMENTS AND DAMAGE CALCULATIONS
(A) No insurance policies exist under which Plaintiff could possibly recover
against the Defendant as best known of this date.

(B) At this time, Defendant does not assert a damage claim subject to development
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of further facts or authority. Supplementation or amendment will be supplied as
required,

Respectfully submitted,

SBN# 14286000

851 Culebra

San Antonio, Texas 78201

(210) 736-1680- office

(210) 736-1689- fax

ATTORNEY FOR DEFENDANT

CERTIFICATE OF §

I HEREBY CERTIFY that a copy of the Defendant’s Initial Disclosures was served on
this 22" day of February, 2007 to: John W. Payton, Megan K, Dredia, 1717 Main Street, Suite
2800, Dallas, Texas 75201; Eric W. Buether, Green Traurig, LLP, 2200 Ross Avenue, Suite
4700E, JP Morgan Chase Tower, Dallas, Texas 75201.

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~ MANUEL P- MONTEZ (

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Exhibit B
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Events No Name History

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"Document Searches.

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Forms |

Detail by Entity Name

Florida Profit Corporation

VIRTUAL IMPACT PRODUCTIONS, INC.

Filing Information

Document Number P98000059072

FE] Number §93520955
Date Filed 07/01/1998
State FL

Status ACTIVE
Effective Date NONE

Last Event AMENDMENT

Event Date Filed 12/15/1998
Event Effective Date NONE
Principal Address

607 ST. ANDREWS DRIVE
SARASOTA FL 34243

Changed 04/24/2006
Mailing Address

607 ST. ANDREWS DRIVE
SARASOTA FL 34243

Changed 04/24/2006
Registered Agent Name & Address

ROBINSON, MICHELLE
607 ST. ANDREWS DRIVE
SARASOTA FL 34243

Address Changed: 04/24/2006
Officer/Director Detail
Name & Address

Title PD

ROBINSON, MICHELLE
607 ST. ANDREWS DRIVE
SARASOTA FL 34243

Title D

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SLIDER, ROBERT
607 ST. ANDREWS DRIVE
SARASOTA FL 34243

Title D

ROBINSON, STEFANIE
607 ST. ANDREWS DRIVE
SARASOTA FL 34243

Annual Reports

Report Year Filed Date

2005 04/17/2005
2006 04/24/2006
2007 02/11/2007

Document Images

02/11/2007 -- ANNUAL REPORT
04/24/2006 -- ANNUAL REPORT
04/17/2005 — ANNUAL REPORT
05/04/2004 - ANNUAL REPORT
04/30/2003 -- ANNUAL REPORT
06/23/2002 —- ANNUAL REPORT
05/16/2001 - ANNUAL REPORT
05/24/2000 -- ANNUAL REPORT
05/06/1999 -- ANNUAL REPORT
12/15/1998 -- Amendment
07/01/1998 -- Domestic Profit

Note: This is not official record. See documents if question or conflict.

http://www.sunbiz. org/scripts/cordet.exe?action=DETFIL&ing_doc...

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Copyright and Privacy Policies
Copyright © 2007 State of Florida, Department of State.

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Exhibit C
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Exhibit D
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Montez & Patterson
Case 3:06-cv-01693-P Document 22-2

Filed 05/2

IN THE UNITED STATES DISTRICT COURT
IN AND FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
TYLER TECHNOLOGIES, INC. g
§
Plaintiff, § ~° Case Number: 3-06CV1693-P
g
vs. §
§
VIRTUAL IMPACT PRODUCTIONS, § -
INC, §
§
Defendant §

DEFENDANT'S RESPONSES TO PLAITIFF’S FIRST SET OF INTERROGATORIES

TO: Plaintiff Tyler Technologies, Inc., by and

and Megan K. Dredla of Hughes and Luce

Texas, 75201.

through its atiomey of record John W. Patton
, L.L.P., 1717 Main Street, Suite 2800, Dallas,

Now comes Defendant, Virtual Impact Productions, Inc. and Pursuant to the Federal Rules

of Civil Procedure submits the following Respa

Defendant reserves the right to supplement these

Civil Procedure.

mses to Plaintiff's First Set of Interrogatories.

interrogatories pursuant to the Federal Rules of

ANUEL P. MO}
SBN# 14286000
851 Culebra

San Antonio, Texas 78201

(210) 736-1680- office

(210) 736-1689- fax

ATTORNEY FOR DEFENDANT

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U9/i5/42UUF 12:ib Montez & Patterson
Case 3:06-cv-01693-P Document 22-2 Filed 05/24/87 #4 Ba8i8) of 50 PadefS{b9

CERTIFICATE OF SERVICE
-T HEREBY CERTIFY that a copy of the Defendant’s Responses to Plaintiff’s First Set of

Interrogatories was served on this _ "day of May, 2007 to: John W. Payton, Megan K. Dredla,
1717 Main Sireet, Suite 2800, Dallas, Texas 75201.

Zi aa

“ MANUEL P, MONTEZ

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Case 3:06-CV-01693-B Document 32-2 Filed 05/215) #! B3be8 of 50 Pads d5(B

INTERROGATORIES

INTERROGATORY NO. 1

Identify each product made, sold, used or offered for sale by Tyler that you contend infringes any
claim of the 031 Patent, and for each product: (2) state all facts upon which you based your
contention that each product infringes the ‘031 Patent; (b) identify the functions and features of
that product you contend infringes any claim of the ‘031 Patent.

ANSWER: Virtual Impact Productions has no interest in the ‘031 Patent such that it
could possibly maintain an action against Tyler Technologies Incorporated. Virtual
Impact P.I has uo standing to assert the claims of third parties to which it has no
ownership interest. Virtual Impact Productions Incorporated alleged only that Tyler
Technologies placed Virtual Impact Productions Incorporated name on it’s web site as a
“partner”. This complaint was resolved to the complete satisfaction of Virtual Impact
Productions Incorporated by the removal of the offending material.

INTERROGATORY NO.2

Identify all persons you have ever charged with infringement of the '03] Patent or
communicated with concerning the possibility of that person entering into a license, covenant not
to sue, or other agreement under the ‘031 Patent, and identify all documents that relate to such
charge or communications, including all correspondence with each person, any resulting license,
covenant not to sue, or other agreements.

ANSWER: Virtual Impact Productions Incorporated has charged no person or entity
with infringement of the ‘031 Patent. Virtual Impact Productions Incorporated and Mazik
USA were in negotiations for software bundling at which time, had a partnership
agreement been reached, a usage license agreement was to be acquired from the owners of
the ‘031 Patent. No agreement was reached. The following documents were part of the
negotiations but never consummated:

a. Proposed joint program partnership agreement between Mazik USA
Incorporated and Virtual Impact Productions Incorporated. Author: Sid
Siddigui for Mazik USA

b. Proposed joint program partnership agreement author Virtual Impact
Productions Incorporated by and through it’s attorney: Frederick Cooper
Til, Esq. of Buker, Jones and Haley P.C. Atlanta Technology, Intellectual
Property, internet law.

c. Proposed joint program partnership agreement, This was revised by Mazik
USA Incorporated through Sid Siddigui.

d. E-mail written by attorney Fredrick Cooper III to Robert Slider on subject
of comments Re: Proposed Mazik USA agreement, May 11 2005.

e. E-mail written by Virtual Impact Productions Incorporated through
Michelle Robinson, July 7, 2005. Subject: Virtual Impact Productions
contract.
O5/15/2007 12:17 Montez & Patterso
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f. E-mail written by Sid Siddigui to Michelle Robinson, July 11, 2005. Subject:
Proposed Virtual Impact Productions contract.
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Exhibit E
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Joint Program Partnership Agreement

THIS AGREEMENT is entered into as of June ___, 2005 ("Effective Date"), by and
between Virtual Impact Productions, Inc., a Florida corporation with its principal officé
located at 400 Golf Brook Circle #1 02, Longwood, FL 32779, Telephone: (321) 206-
0372, Facsimile: (206) 206-3138, Contact and email: Robert Slider, robert@virtualed.org
("VIP"), and MazikUSA, Inc., an Ilinois corporation with its principal office located at
2644 E, Dempster, Suite 213, Park Ridge, IL 60068, Telephone: 847-808-1046,
Facsimile: 847-375-9251, Contact and email: Sid Siddiqui, sid@mazikusa.com
("MazikUSA‘).

WHEREAS, VIP has developed an ASP based Leaming Content Management System
Digital Interface Vehicle© (DIV) and other productivity tools including rights to an

industry patent to implement communication with parents in a Virtual environment,
“Software Products”; and

WHEREAS, the parties desire to enter ina joint partnership agreement to allow
MazikUSA and VIP to develop a .NET version of Virtual Impact’s current DIV program.
This Program will be designed to work exclusively with the MazikUSA Solution offerifig.
The newly develped will be called “MazikUSA-Virtual impact Learning Content
Management System”, and will be equally owned by both parties, and

WHEREAS, Virtual Impact will supply its current DIV© code, technical documentatiori
and use of assignment on-line patent towards this newly developed “Program”. In
return, MazikUSA will fund and redesign this DIV code in .NET to link and interact with
the MazikUSA SIS system, subject to the terms and conditions hereof;

WHEREAS, Virtuai Impact is authorizing MazikUSA the use of Patent 6,505,031 as part
of this newly developed MazikUSA-Virtual Impact DIV “Program”. In addition, Virtual
impact authorizes MazikUSA to approach customers and/or vendors who may not bé in
compliance of the Patent and seek settlements. Proceeds of these settiements will bé
equally divided between Virtual Impact and MazikUSA for the curation of this agreemént.
All legal and incidental costs to be born by MazikUSA.

NOW, THEREFORE, in consideration of the foregoing, and in reliance on the mutual
agreements contained herein, the parties agree as follows:

1. Definitions.

1.1 “Software Product(s)." All computer programs and related documentation
produced, owned, and/or licensed by VIP, in source code form, as specified on Exhibit
A. Software Product(s) include any Updates provided by VIP hereunder.

1.2 “Update.” A release of the Software Product(s) that is developed and
designated by VIP as a change in the tenths digit in the version number [x.(x).x].

1.3 "Software Product(s) Deliverables." Those deliverables specified on Exhibit
A.

1.4 "Composite Product(s)." Software products produced by MazikUSA for —
distribution hereunder that result from the integration and merger of MazikUSA produéts

Confidential 1
Virtual Impact Productions, Inc.
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and/or code as specified on Exhibit A with Software Product(s) licensed and provided by
VIP hereunder.

1.5 "Resellers." Companies or organizations that distribute software products
to end-users.

1.6 “VIP Branding Features." VIP’s proprietary trade names, service marks,
trademarks, logos, and indicia of origin and other distinctive branding features as
specified on Exhibit A.

1.7 “MazikUSA Branding Features.” MazikUSA's proprietary trade names,
service marks, trademarks, logos, and indicia of origin and other distinctive branding
features as specified on Exhibit A.

1.8 "Proprietary Materials." Materials to be delivered by one party to the other,
or used by a party in connection with the delivery of services or the Software Product(s),
or for the performance of obligations hereunder,

1.9 “Registration Data." The following data records submitted by end-users of

Composite Product(s)n as part of the registration process: school or district, address,
and email address.

1.10 “Proprietary Rights.” Any and all rights, whether registered or unregistered,
in and with respect to patents, copyrights, confidential information, know-how, trade
secrets, moral rights, contract or licensing rights, confidential and proprietary information
protected under contract or otherwise under law, trade names, domain names, trade
dress, logos, animated characters, trademarks, service marks, and other similar rights or
interests in intellectual or industrial property.

2. Derivative Works/Integration and Merger License And Restrictions. Subject to the
terms and conditions hereof, including without limitation, Exhibit A attached, and only for
term hereof, VIP hereby grants to MazikUSA to develop a .NET version solution based
on Virtual Impact’s current DIV specifications/source code and create a new product
called “MazikUSA/Virtual Impact Learning Content Management System”. (Composite
Product)

3. Bundling/Compilation License And Restrictions. Subject to the terms and
conditions hereof, and only for the term hereof, the new product will be sold as an add-
on to the MazikUSA’s solution and will utilize the On-line assignment Patent. Itis
understood by the parties, that this joint partnership will not be misconstrued in that
Michelle Robinson or Robert Slider are giving up ownership in the Assignment Online
Patent 6,505,031, and other Intellectual Property and/or MazikUSA is giving up
ownership in their SIS Product and other Intellectual Property. Both companies will
continue to own their current products, copyrights and registered patents, provided that
the Composite Product(s) remain a separate software offering.

4, Distribution License; Sublicenses; Restrictions. Subject to the terms and
conditions hereof and only for the term hereof, VIP hereby grants to MazikUSA the right
and license to use, publicly display, publish, and distribute the Composite Product(s) in
object code form only, together with authorized derivative works based thereon, on 4
standalone basis, and as part of bundled products and/or compilations with other works

Confidential 2
Virtual Impact Productions, inc.
062005
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only as expressly authorized above, and only through the authorized distribution
channel(s) specified below. MazikUSA is authorized to grant sublicenses only in
conformity with the Sublicense Terms provided on Exhibit C.

5. Authorized Distribution Channels. The distribution license granted above is
granted both (i) for distribution to end-users located in The United States through a
single tier of distribution consisting only of sales personnel with face-to-face contact with

end-users, and (ii) for distribution through the Retail Channels consisting of Resellers
located in The United States.

6. Co-Branding Requirements; Branding License. MazikUSA shall incorporate VIP
Branding Features and designated copyright notice as specified by VIP into the
Composite Product(s), and MazikUSA is authorized to incorporate VIP Branding
Features in its discretion into MazikUSA web pages that feature Composite Product(s}.
All distribution rights and licenses granted herein for Composite Product(s) are subject to
the forgoing co-branding requirements. Subject to the terms and conditions hereof, arid
only for the term hereof, VIP hereby grants to MazikUSA the non-exclusive, worldwide
right and license to publicly display VIP Branding Features on Composite Product(s) and
on MazikUSA web pages for purposes of promoting and marketing Composite
Product(s).

7. Limited Exclusive License. The license granted herein is exclusive in that VIP
represents that VIP has not granted, nor will VIP during the term hereof, grant to another
MazikUSA competing integration and merger rights for Software Product(s) that are
competitive with Composite Product(s). VIP reserves the right to market the Softwaré
Product(s) itseif, without limitation.

8. Exclusive Dealing Restriction. During the term hereof, MazikUSA shall not
distribute, or act as an agent or representative of any developer, publisher, or
manufacturer, of software programs that are functionally comparabie or intended, by
applicable marketing and promotional programs directed to such products, to competé
directly with the Software Product(s).

9. Irrevocable Agreement. This Agreement is irrevocable, and the parties may not
terminate this Agreement by reason of a patires material breach; provided, however, that
in no event shall this provision be construed to nullify any other remedy available to the
parties for a material breach by a party that is expressly provided herein or otherwisé
available at law or in equity.

10. Export. Software Product(s), including associated technical data, are subject to
United States export control laws, and may be subject to export or import regulation if
other countries. The parties agree to comply strictly with all such regulations, and
acknowledges that it has the responsibility to obtain such licenses to export, re-export, or
import Composite Product(s). The parties shall, at its own expense, obtain and arrange
for the maintenance in full force and effect of all governmental approvals, consents,
licenses, authorizations, declarations, filings and registrations as may be necessary or
advisable for the performance of the terms and conditions of this Agreement, including
without limitation, fair trade approvals.

11. Reservation of Rights. All rights not expressly granted to MazikUSA herein are
expressly reserved by VIP.

Confidential 3
Virtual Impact Productions, Inc.
062005
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12, Marketing And Support Obligations. Each party shall perform the marketing arid
support obligations in accordance with Exhibit B attached.

13. Royalties. MazikUSA and VIP shall pay to the other in accordance with Exhibit A
attached.

14, Representations and Warranties; Indemnities. Each of the parties represents
and warrants to the other that: (i) each party has full legal right, power and authority to
enter into and perform this Agreement (including all Exhibits hereto); (ii) the Software
Product(s), Proprietary Materials and any branding features of either party specified
herein do not infringe or misappropriate any Proprietary Right of any third party, or
constitute defamation, invasion of privacy, or violate the privacy rights of any third party;
(iii) all Proprietary Rights or other rights in the Software Product(s), Proprietary Maierials
and any branding features of either party specified herein are either owned by the
providing party or are properly sublicensed from third parties granting such party the
right to use same as contemplated hereunder; {iv) regarding the collection and use of
end-user data, each of the parties represents and warrants to the other that neither party
shall violate any rights of any person or entity, including, without limitation, rights of
publicity, privacy or personality; and (v) any and all sublicenses granted by MazikUSA in
connection with the Composite Product(s) shall be in compliance with the Sublicensé
Terms provided on Exhibit C. Each party shall defend, indemnify and hold harmless the
other, its affiliates, successors, assigns, officers, directors, and employees from and
against any and all claims, costs, damages, losses, liabilities, actions, recoveries,
judgments and expenses (including actual attorneys’ fees and expenses regardless of
whether litigation was commenced) arising out of or in connection with a breach/untruth
of any express representation and warranty made above in this Section (a “Claim’),
provided that: (i) the indemnified party promptly notifies the indemnifying party in writing
of the claim promptly upon the indemnified party becoming aware of such Claim; (ii) the
indemnifying party shall have exclusive control of the settlement or defense of any action
to which the Claim reiates; and (ii) the indemnified party cooperates with the
indemnifying party in every reasonable way to facilitate such defense or settlement.
Once given notice of such Claim, if the indemnifying party does not defend any such
Claim, the indemnified party may take any of the above actions and shall be fully
indemnified by the indemnifying party.

15. Warranty Disclaimers. EXCEPT AS EXPRESSLY SET FORTH ABOVE, TO
THE EXTENT ALLOWED BY LAW, EACH PARTY ON BEHALF OF ITSELF AND ITS
SUPPLIERS HEREBY DISCLAIMS ALL WARRANTIES, BOTH EXPRESS AND
IMPLIED, INCLUDING THE IMPLIED WARRANTIES OF TITLE, NON-INFRINGEMENT,
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, SYSTEM
INTEGRATION, AND DATA ACCURACY. EACH PARTY ACKNOWLEDGES THAT iT
HAS NOT RELIED ON ANY REPRESENTATION THAT iS NOT EXPRESSLY SET OUT
HEREIN.

16. Disclaimer of Incidental and Consequential Damages. EXCEPT FOR
INDEMNIFICATION OBLIGATIONS ESPRESSLY PROVIDED HEREIN, IN NO EVENT
SHALL EITHER PARTY BE LIABLE TO THE OTHER UNDER ANY THEORY
INCLUDING CONTRACT AND TORT (INCLUDING NEGLIGENCE AND STRICT
PRODUCTS LIABILITY) FOR ANY INDIRECT, SPECIAL OR INCIDENTAL OR
CONSEQUENTIAL DAMAGES, EVEN IF THE PARTY CAUSING SUCH DAMAGES
HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.

Confidential 4
Virtual Impact Productions, inc.
062005
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17. Limitation of Liability For Direct Damages. Except for indemnification obligations
expressly provided herein, the liability of the parties for direct damages shall be as
follows; (i) VIP’s maximum liability for direct damages of any kind arising out of this
Agreement shail be limited to the total amount of royalties paid by MazikUSA to VIP
hereunder, and (ii) MazikUSA’s maximum liability for direct damages of any kind arisitig
out of this Agreement shall be limited to the total amount of royalties payable by
MazikUSA to VIP hereunder.

18. Ownership of Composite Product(s). Title to the Proprietary Rights embodied in
the Composite Product(s) and in the Composite Product(s) Deliverables shall be the sole
and exciusive property jointly owned by VIP and MazikUSA.

19. Ownership of VIP Branding Features. Title to the Proprietary Rights embodied in
VIP Branding Features shall remain in and be the sole and exclusive property of VIP.
MazikUSA hereby acknowledges and agrees that (i) MazikUSA has no rights, title or
interest in or to the VIP Branding Features, and (ii) all use of the VIP Branding Features
shall inure to the benefit of VIP. MazikUSA shall not (i) apply for registration of the VIP
Branding Features (or any marks or features confusingly similar thereto) anywhere in the
world, (ii) alter, modify or change the VIP Branding Features in any manner, or (iii) usé
any of the VIP Branding Features, except as expressly authorized herein or by prior
written approval of the owner thereof.

20. Ownership of MazikUSA Branding Features. Title to the Proprietary Rights
embodied in MazikUSA Branding Features shall remain in and be the sole and exclusive
properly of MazikUSA. VIP hereby acknowledges and agrees that (i) VIP has no rights,
title or interest in or to the MazikUSA Branding Features, and (ii) all use of the MazikUSA
Branding Features shail inure to the benefit of MazikUSA. VIP shall not (i) apply for
registration of the MazikUSA Branding Features (or any marks or features confusingly
similar thereto) anywhere in the world, (if) alter, modify or change the MazikUSA
Branding Features in any manner, or (ili) use any of the MazikUSA Branding Features,
except as expressly authorized herein or by prior written approval of the owner thereof.

21. Joint Ownership of End-User Registration Data. The parties agree that all
Registration Data that end-users may convey during the registration process for the
Composite Product(s) shall be jointly owned by MazikUSA and VIP. The parties agree
that during the term hereof, each party shall establish privacy policies that (i) permit the
collection of Registration Data, and (ii) the sharing of such Registration Data with the
other party.

22. Reciprocal Disclosure of Confidential Information. The parties anticipate that
each may disclose confidential information to the other. Accordingly, the parties desire to
establish in this Section terms governing the use and protection of certain information
one party ("Owner") may disclose fo the other party ("Recipient"). For purposes hereof,
“Confidential Information" means the terms and conditions hereof, and other information
of an Owner (i) which relates to Software Product(s), including business models and _
plans, and technical information and data of Owner or its customers or suppliers, or (ii)
which, although not related to the Software Product(s), is nevertheless disclosed
hereunder, and which, in any case, is disclosed by an Owner or an affiliate to Recipiant
in document or other tangible form bearing an appropriate legend indicating its
confidential or proprietary nature, or which, if initially disclosed orally or visually is

Confidential 5
Virtual Impact Productions, Inc.
062005
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identified as confidential at the time of disclosure and a written summary hereof, also
marked with such a legend, is provided to Recipient within fifteen (15) days of the initial
disclosure. Recipient may use Confidential Information of Owner only for the purposés of
this Agreement and shall protect such Confidential Information from disclosure to othérs,
using the same degree of care used to protect its own proprietary information of like
importance, but in any case using no less than a reasonable degree of care. Recipient
may disclose Confidential Information received hereunder only as reasonably requiréd to
perform its obligations under this Agreement and only to its employees who have a riéed
to know for such purposes and who are bound by signed, written agreemenis to protect
the received Confidential Information from unauthorized use and disclosure. The
restrictions of this Agreement on use and disclosure of Confidential Information shall riot
apply to information that: (i) is in the possession or control of Recipient at the time of its
disclosure hereunder; (ii) is, or becomes publicly known, through no wrongful act of
Recipient; (iii) is received by Recipient from a third party free to disclose it without

obligation to Owner; or (iv) is independently developed by Recipient without reference to
Confidential Information.

23. Confidentiality of Software Product(s). Notwithstanding the forgoing, specifically
regarding the Software Product(s), both Parties acknowledge claim that their respective
Software Product(s) source code embodies valuable trade secrets proprietary to each
party. Accordingly, each Party shall maintain a high degree of care to protect the
Software Product(s) source code from unauthorized access, disclosure, and use,
including without limitation, the placement of any Proprietary Rights notice on the
Software Product(s) that is reasonably requested by the parties. Neither party: (i)
distribute, transfer, loan, rent, or provide access to the Software Product(s), except as
provided herein; or (ii) remove or add any Proprietary Rights'notice associated with the
Software Product(s) without the express written permission of the other party.

24. Injunctive Relief. The parties hereby agree that any breach of any provision of
this Agreement regarding confidentiality or protection of Proprietary Rights would
constitute irreparable harm, and that the aggrieved party shall be entitled to specific
performance and/or injunctive relief in addition to other remedies at law or in equity.

25, Term Of Agreement. The initial term of this Agreement shall commence as of
the Effective Date hereof and shall continue for a period of ten (10) years. The initial
term hereof shall automatically renew for successive one (1} year terms unless either
party notifies the other in writing not less than ninety (90) days prior to the expiration of
the current term of its intention not to renew. Both the initial term and any renewal tern
are subject to earlier termination as otherwise provided herein.

26. Automatic Termination. Unless either party promptly after discovery of the
relevant facts notifies the other party to the contrary in writing, this Agreement will
terminate immediately without notice upon the institution of insolvency, bankruptcy, or
similar proceedings by or against the other party, any assignment or attempted
assignment by either party for the benefit of creditors, or any appointment, or application
for such appointment, of a receiver for the party.

If a petition is filed in any court to declare the other party bankrupt or for a
Reorganization of the other party under the bankruptcy laws or any similar statue and
such petition is not dismissed in ninety (90) days or if a Trustee in bankruptcy or a
Receiver or similar entity is appointed for one of the parties.

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27. Termination for Cause. Either party may terminate this Agreement and all rigtits
granted herein for a material breach by the other party which remains uncured after
ninety (90) days from receipt of written notice describing the nature of the breach.

28. Effect of Expiration or Termination. Upon the expiration or termination hereof,
both parties shail cease distributing Composite Product(s) and any derivative works
based on the Composite Product(s). Notwithstanding anything to the contrary containéd
herein, sublicenses for all Composite Product(s) in any form, including any derivative
works based on Composite Product(s), granted by a party prior to the expiration date or
the effective date of termination of this Agreement shall remain in full force and effect
following such dates.

29. Arbitration. Except for actions to protect Proprietary Rights and to enforce an
arbitrator's decision hereunder, all disputes, controversies, or claims arising out of or
relating to this Agreement or a breach thereof shall be submitted to and finally resolved
by arbitration under the rules of the American Arbitration Association (“AAA”) then in
effect. There shall be one arbitrator, and such arbitrator shall be chosen by mutual
agreement of the parties in accordance with AAA rules. The arbitration shall take place
in Orlando, FL. The arbitrator shall apply the laws of the State of Florida, to all issues in
dispute. The findings of the arbitrator shall be final and binding on the parties, and may
be entered in any court of competent jurisdiction for enforcement. Enforcemenis of ariy
award or judgment shall be governed by the United Nations Convention on the
Recognition and Enforcement of Foreign Arbitral Awards. Legal fees shall be awardéd to
the prevailing party in the arbitration.

30. Notices. Any notice or communication required or permitted to be given
hereunder may be delivered by hand, deposited with an overnight courier, sent by eral
or facsimile (provided delivery is confirmed), or U.S. Mail (registered or certified only),
return receipt requested, in each case to the address set forth on the initial page hereof
or at such other addresses as shall be designated in writing by either party to the otfiér
in accordance with this Section. Such notice will be deemed to be given when receivéd.,

31. Assignment. This Agreement is assignable by either party hereto with the
consent of the other, not to be unreasonably withheld. This Agreement shall be
assignable by MazikUSA or Virtual Impact Productions to an affiliate entity or upon thé
sale of the right to license and sublicense the Products to the purchaser of said right.
This Agreement shall be binding upon and inure to the benefit of the parties and their
respective successors. Neither party may delegate any work or obligation to be
performed under this Agreement, without joint prior written consent. Any attempted
assignment or delegation in contravention of this Section without consent shall be void
and ineffective.

32. Continuing Obligations. The following obligations shall survive the expiration or
termination hereof: (i) any and all warranty disclaimers, limitations of liability and
indemnities granted by either party herein, (ii) any covenant granted herein for the
purpose of determining ownership of, or protecting, the Proprietary Rights, including
without limitation, the confidential information of either party, or any remedy for breach
thereof, and (iii) the payment of taxes, duties, or any money to parties hereunder.

33. Joint Program Partnership. The relationship of the parties is that of Joint Program
Partnership Agreement. MazikUSA is allowed to develop a .NET based solution, based

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on Virtual Impact’s current DIV specifications/source code and create a new product
called “MazikUSA/Virtual Impact Learning Content Management System”. Neither party
has the authority to enter into any additional agreements of any kind on behalf of the

other party and shall not have the power or authority to bind or obligate the other party in
any manner to any third party.

34, Force Majeure. Neither VIP nor MazikUSA shall be liable for damages for ariy
delay or failure of delivery arising out of causes beyond their reasonable control and
without their fault or negligence, Including, but not limited to, Acts of God, acts of civil or
military authority, fires, riots, wars, embargoes, or communications failures.
Notwithstanding anything to the contrary contained herein, if either party is unable to
perform hereunder for a period of sixty (60) consecutive days, then the other party may

ierminate this Agreement immediaiely without liability by ten (10) days written notice to
the other.

35. Miscellaneous. This Agreement shall be construed under the laws of the State of
Florida, without regard to its principles of conflicts of law. This Agreement constitutes the
entire understanding of the parties with respect to the subject matter of this Agreemerit
and merges all prior communications, understandings, and agreements. This Agreernént
may be modified only by a written agreement signed by the parties. The failure of either
party to enforce at any time any of the provisions hereof shall not be a waiver of such

provision, or any other provision, or of the right of such party thereafter to enforce any
provision hereof.

IN WITNESS WHEREOF, the parties have caused this Agreement to be duly executed
below.

Virtual Impact Productions, Inc.

Date:
Signature
By: Michelle Robinson, Founder
MazikUSA, Inc.

Date:
Signature
By: Sid Siddiqui, Founder
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EXHIBIT A

SOFTWARE PRODUCT(S) DESCRIPTION, BRANDING FEATURES AND
PRICING

1. Software Product(s). Virtual Impact Productions, Inc., has developed an ASP
based Learning Management System and other productivity tools including rights to an
industry patent to implement communication with parents in a Virtual environment.

MazikUSA and Virtual Impact will develop a .NET version of the current Virtual Impact
DIV© program. This Program will be designed to work exclusively with the MazikUSA
Solution offering. The newly developed MazikUSA -Virtual impact DIV will be equally
owned by both companies, in the existing English language version.

2. Software Product(s) Deliverable(s). VIP shall deliver to MazikUSA (i) a compléte
set of master copies of Software Product(s) recorded compact disc (CDs) in source éode
and object code form, (ii) one complete set of user documentation in digital form, and (iii)
one copy of any programming tools and higher-level programming languages or
environments (and related documentation) required to support the Software Prod uct(s)
that are not available on commercially reasonable terms on the open market of the
existing English language version of the Software Product(s) for use to develop a .NET
based solution based on Virtual Impact’s current DIVO.

3. Composite Product(s). Only the following MazikUSA product(s) and/or new
functionality are authorized for integration and merger with the Software Product(s) to
create Composite Products: (i) “MazikUSA/Virtual Impact Leaming Content Management
System”. This Program wilt be designed to work exclusively with the MazikUSA Solution
offering. The newly developed MazikUSA -Virtual Impact DIV will be equally owned by
both companies.

4, Co-Branding For Composite Product(s).

4,1 For purposes hereof, "Branding Features" shall mean the MazikUSA-Virtual
Impact DIV logo to be incorporated into a splash screen at startup and into the About
box of each Composite Product.

4.2 For purposes hereof, "MazikUSA-Virtual Impact DIV Branding Features”
shall mean the MazikUSA-Virtual Impact DIV logo and word mark to be incorporated (i)
into a splash screen at startup and into the About box of each Composite Product, arid
(ii) otherwise on any MazikUSA or Virtua! Impact web site page featuring the Composite
Product(s).

5. Distribution Royalties.

5.1 Apportionment. Virtual Impact and MazikUSA will equally share in the gross
income from the license of this newly developed MazikUSA-Virtual Impact DIV
“Program”. All additional profits, minus employee cost, from the training, sales of 3
party software, installation and other incomes derived from the “Program” will be shared
equally, as well, between the two parties, with the exception of travel expenses to bé

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reimbursed to the traveling party. MazikUSA will also allow an option for Virtual Impact to
offer training and installation to its clients.

5.2 Periodic Per Unit Royalty. MazikUSA and Virtual Impact will sell the licerise
to this new “Program” to customers for $1295 per school, as suggested retail pricing. An
additional discount may be offered to customers, as agreed between the parties. Virtual
Impact and MazikUSA will divide the profits from the sale of MazikUSA-Virtual impact
DIV Program equally. For purposes hereof, this Composite Product shall be deemed to
be "distributed" when a copy thereof is downloaded, transmitted electronically, shipped,
distributed, or otherwise transferred to a third party or accessible by a third party.

5.3 Royalty Period and Payment. The periodic royaity is payable on a monthly
basis not later than thirty (30) days from ihe close of each calendar month during the
term hereof. If the initial period is a partial period, the periodic royalty shall be pro-rated
for such period.

5.4 Reporting And Audit Rights. At the time of each royalty payment, the
parties shall transmit to each other sales activities reports in the form of written and/ér
electronic files by email attachment. Each sates activity report shall include the number
of sales and related revenue for all distributions during the royalty period broken down
by channel or method of distribution. The parties shall keep all such records and
Supporting books, records, accounts, and logs, whether in electronic format or otherwise,
for a period of at least three (3) years from the date of each transaction. Upon three (8)
business days' advance written notice, the party or its agent shall have the right to
examine during normal business hours at The Party's principal place of business, The
Party's books, records, accounts, and logs, whether in electronic format or otherwise, to
the extent that such examination is necessary and pertinent to support and verify Thé
Party's sales activities reports required hereunder. If any audit reveals underpayment of
five percent (5%) or greater in royalties payable, then that Party shall, in addition to
promptly paying the underpayment, reimburse the other Party for all the costs and
expenses of the audit.

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EXHIBIT B

MARKETING AND SUPPORT OBLIGATIONS

1. VIP’s Obligations. VIP shall perform the following obligations at its cost and
expense, unless otherwise indicated.

1.1 Technical Contact. Within five (5) days of the Effective Date, VIP shall
appoint and notify MazikUSA of its technical contact. VIP’s technical contact shall
coordinate all technical issues on behalf of VIP which arise out of this Agreement.

1.2 Location of Services. All VIP services hereunder shall be performed at

VIP's facilities or at the facilities of the VIP Site(s), unless otherwise agreed in writing by
VIP.

1.3 Technical Support. If MazikUSA has questions about the Software
Product(s), MazikUSA may notify VIP by telephone or through VIP’s designated
electronic mail support address. VIP shall assign VIP support contacts to staff such
support lines and electronic mail at least from 9:00 a.m. to 5:00 p.m., Eastern Time,
Monday through Friday, excluding national holidays. VIP will use its best efforts to
answer questions and correct reported errors that are reproducible and caused by VIP
(or to provide suitable temporary solutions or workarounds for problems) during the initial
response. If MazikUSA states that the reported error is substantial and material to
MazikUSA’s use of the Software Product(s), or that the reported error causes the
Software Product(s) to be inoperable, VIP will use its best efforts to correct the error,
within a commercially reasonable time after VIP’s initial response.

1.4 Deliverables. Promptly after the Effective Date, VIP shall transmit to
MazikUSA all existing product specifications, source code, documentation in a form arid
format that is mutually agreeable between the parties, so that MazikUSA can properly
develop the new “Program”.

1.6 Updates. VIP shall provide MazikUSA with reasonable prior notice of afiy
Updates for the Software Product(s), and VIP shall provide master copies of such
Updates to MazikUSA without additional charge.

1.7 Co-Marketing. VIP will co-market the new “Program” and increase
awareness using marketing collateral, video, web, audio, and other mechanisms.
Additionally VIP will inform existing and new customers of the availability of the new
“Program”.

1.8 Enhancements. VIP will continue building enhancements to the core
product to ensure that the new “Program” is also keeping up with the technology and
user process change.

2. MazikUSA’s Obligations. MazikUSA shall perform the following obligations at its
cost and expense, unless otherwise indicated.

2.1 Technical Contact. Within five (5) days of the Effective Date, MazikUSA
shail appoint and notify VIP of its technical contact. MazikUSA’s technical contact shall

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coordinate all technical issues on behalf of MazikUSA which arise out of this Agreemént,
including without limitation, the obligations of MazikUSA specified in this Exhibit C.

2.2 Location os Services. All MazikUSA services hereunder shall be
performed at VIP's facilities or at the facilities of the MazikUSA Site(s), unless otherwise
agreed in writing by MazikUSA.

2.3 Technical Support. If VIP has questions about the Software Product(s), VIP
may notify MazikUSA by telephone or through MazikUSA’s designated electronic mail
support address. MazikUSA shall assign MazikUSA support contacts to staff such
support lines and electronic mait at least from 9:00 a.m. to 5:00 p.m., Eastern Time,
Monday through Friday, excluding national holidays. MazikUSA will use its best efforts to
answer questions and correct reported errors that are reproducible and caused by
MazikUSA (or to provide suitable temporary solutions or workarounds for problems)
during the initial response. If VIP states that the reported error is substantial and matérial —
to VIP’s use of the Software Product(s), or that the reported error causes the Software
Product(s) to be inoperable, MazikUSA will use its best efforts to correct the error, within
a commercially reasonable time after MazikUSA’s initial response. Additionally, Mazik
will contract with VIP for the use of VIP’s senior programmer during the integration
process and reimburse VIP at VIP’s usual and customary rates.

2.4 Co-market the newly developed “Program” with MazikUSA’s SIS offeririg to
the districts across the nation. Additionally MazikUSA will inform existing and new
customers of the availability of the new “Program”.

2.5 Fund and execute a market plan with partners to maximize Project
revenue. Seek sales and business development opportunities for the new solution.
Continually update Sales & Marketing Plan to retlect the alignment of market conditions.

2.6 Execute a detailed process to follow-up and close K-12 prospect and sales
leads.

2.7 Registration of End-Users. During the term hereof, MazikUSA shall
establish and maintain an online registration system for the Composite Product(s)
suitable to capture Registration Data in digital form. MazikUSA shall transfer Registration
Data to VIP in the form and format as mutually agreed between the parties and in
accordance with a mutually agreed-upon schedule, but in no event less than monthly
during the term hereof.

2.8 MazikUSA will grant exclusive contract to Virtual Impact to produce video
and graphics for training and sales promotions for “Composite Product’. MazikUSA will
fund the development of this work. All sales proceeds from the sale of these “Composite
Product’ videos will be returned to MazikUSA until “Composite Product” expenditures
have been matched. Once matched MazikUSA and Virtual Impact will equally share ih
the profit of these sales.

2.9 MazikUSA will grant exclusive contract to Virtual Impact to produce vidéo
and graphics for training and sales promotions for MazikUSA Products”. MazikUSA will
reimburse VIP at VIP's usual and customary rates. MazikUSA has the right to market
VIP's video and graphic production to their partners and clients. VIP will pay MazikUSA
a commision upon said sales, based upon the individual contract.

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EXHIBIT C
SUBLICENSE TERMS

1. Sublicense Terms For End-Users. The parties shall include terms and conditiéris
substantially similar to the following (i) in terms of use to be incorporated into the parties
web sites and/or (ii) (ii) a "shrink-wrapped’ or “click-wrapped” license agreement that
clearly notifies the end-user that the use of the Composite Product(s) subject to the
agreement and permits the end-user to indicate assent either by opening the product
package or by the clicking on a designated button or link.

1.1 Sublicense And Restrictions. Each sublicense for Composite Product(s)
shail grant non-exclusive rights for use and not for resale or distribution.

1.2 Proprietary Rights Provisions: (i) an acknowledgment that although
copyrighted, the Composite Product(s) embody valuable trade secrets proprietary to the
parties and/or the parties suppliers, (ii) a covenant prohibiting disassembly and
decompilation of the Composite Product(s), (iii) a covenant prohibiting the copying of the
Composite Product(s), except for a reasonable number of back-up copies and as
expressly authorized in the sublicense license grant, and (iv) a covenant prohibiting the
end-user from providing access to the Composite Product(s) to any person for any

purpose other than processing the end-users internal data for the intended use of the
Composite Product(s).

1.3 Warranties. The parties shall not be authorized to grant any warranty
binding the other party regarding the performance, condition, title, non-infringement,
merchantability, fitness for a particular purpose, system integration, or data accuracy of
the Composite Product(s). The parties shall disclaim all warranties implied by law as
permitted by applicable law. If either party grants an express warranty binding the othér
party regarding the performance and/or condition of the Composite Product(s), such
express warranty shall not exceed the scope of, or be inconsistent with, any express
warranty given by the parties for the Software Product(s).

1.4 Limitation of Liability. Both parties shall on behalf of itself and all of its
suppliers and licensors, disclaim any and ail liability for incidental and consequential
damages as permitted by applicable law.

1.6 U.S. GOVERNMENT END USERS. MazikUSA shail provide that the
Composite Product(s) constitute a commercial item," as that term is defined in 48 C.E.R.
2.101 (Oct. 1995), consisting of "commercial computer software” and "commercial
computer software documentation," as such terms are used in 48 C.F.R. 12.212 (Sept.
1995). Consistent with 48 C.F.R. 12.212 and 48 C.F.R. 227.7202-1 through 227,7202-4

(June 1995), all U.S. Government end-users acquire the Software Product(s) with only
those rights set forth herein.

2. Sublicense Terms For Resellers. The parties shall include terms and conditions
substantially similar to the following in written sublicense agreements, signed by a duly
authorized representative of the Reseller.

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2.1 Sublicense And Restrictions. Each sublicense shall (i} grant rights no
greater in scope than the license rights provided herein, and (ii) provide licensing
restrictions no less restrictive than those provided herein; provided, however, each
Reseller shall be authorized to grant sublicenses only to end-users and not to other
Resellers.

2.2 Proprietary Rights Provisions: (i) an acknowledgment that although
copyrighted, the Composite Product(s) embody valuable trade secrets proprietary to the
parties and/or the partie’s suppliers, and (ii) a covenant prohibiting disassembly and
decompilation of the Composite Product(s).

2.3 Warranties. The parties shall not be authorized to grant any warranty
binding the other party regarding the performance, condition, title, non-infringement,
merchantability, fitness for a particular purpose, system integration, or data accuracy of
the Composite Product(s). Both parties shall disclaim all warranties implied by law as
permitted by applicable law. If MazikUSA grants an express warranty binding MazikUSA
regarding the performance and/or condition of the Composite Product(s), such express
warranty shail not exceed the scope of, or be inconsistent with, any express warranty
given by the parties for the Software Product(s).

2.4 Limitation of Liability. Both parties shall on behalf of itself and all of its
suppliers and licensors disclaim any and all liability for incidental and consequential
damages as permitted by applicable law.

2.5 U.S. GOVERNMENT END USERS. The parties shall require all Resellers
to provide in all sublicenses for the Composite Product(s) that the Composite Product(s)
constitute a "commercial item," as that term is defined in 48 C.F.R. 2.101 (Oct. 1995),
consisting of "commercial computer software" and "commercial computer software
documentation," as such terms are used in 48 C.F.R. 12.212 (Sept. 1995). Consistent
with 48 C.F.R. 12.212 and 48 C.F.R. 227,7202-1 through 227.7202-4 (June 7995), all
U.S. Government end users acquire the Composite Product(s) with only those rights set
forth herein.

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Joint Program Partnership Agreement

THIS AGREEMENT is entered into as of June 27, 2005 ("Effective Date"), by and
between Virtual Impact Productions, Inc., a Florida corporation with its principal office
located at 400 Golf Brook Circle #102, Longwood, FL 32779, Telephone: (321) 206-
0372, Facsimile: (206) 206-3138, Contact and email: Robert Slider, robert @virtualed.org
("VIP"), and MazikUSA, Inc., an Illinois corporation with its principal office located at
2644 E. Dempster, Suite 213, Park Ridge, IL 60068, Telephone: 847-803-1046,
Facsimile: 847-375-9251, Contact and email: Sid Siddiqui, sid@ mazikusa.com
(“"MazikUSA’).

WHEREAS, VIP has developed an ASP based Learning Content Management System
Digital Interface Vehicle® (DIV) and other productivity tools including rights to an
industry patent to implement communication with parents in a Virtual environment,
“Software Products”: and

WHEREAS, the parties desire to enter in a joint partnership agreement to allow
MazikUSA and VIP to develop a .NET software version of Virtual Impact’s current DIV
program. This Program will be designed to work exciusively with the MazikUSA Solution
offering. The newly developed product will be called “MazikUSA-Virtual Impact Learning
Content Management System’, and will be equally owned by both parties, and

WHEREAS, Virtual Impact will supply its current DIVO code, technical documentation
and use of assignment on-line patent towards this newly developed “Program”. In
return, MazikUSA will fund and redesign this DIV code in .NET to link and interact with
the MazikUSA SIS system, subject to the terms and conditions hereof;

WHEREAS, Virtual Impact is authorizing MazikUSA the use of Patent 6,505,031 as part
of this newly developed MazikUSA-Virtual Impact DIV “Program”. In addition, Virtual
Impact authorizes MazikUSA to approach customers and/or vendors who may not be in
compliance of the Patent and seek settlements. Proceeds of these setilements will be
equally divided between Virtual Impact and MazikUSA for the duration of this agreement.
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NOW, THEREFORE, in consideration of the foregoing, and in reliance on the mutual
agreements contained herein, the parties agree as follows:

1. Definitions.

1.1 "Software Product(s)." All computer programs and related documentation
produced, owned, and/or licensed by VIP, in source code form, as specified on Exhibit
A. Software Product(s) include any Updates provided by VIP hereunder.

1.2 "Update." A release of the Software Product(s) that is developed and
designated by VIP as a change in the tenths digit in the version number [x.(x).x].

1.3 "Software Product(s) Deliverables." Those deliverables specified on Exhibit
A.

1.4 “Composite Product(s)." Software products produced by MazikUSA for

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distribution hereunder that result from the integration and merger of MazikUSA products

and/or code as specified on Exhibit A with Software Product(s) licensed and provided by
VIP hereunder.

1.5 "Resellers." Companies or organizations that distribute software products
to end-users.

1.6 “VIP Branding Features." VIP’s proprietary trade names, service marks,
trademarks, logos, and indicia of origin and other distinctive branding features as
specified on Exhibit A.

17 "MazikUSA Branding Features." MazikUSA’s proprietary trade names,
service marks, trademarks, logos, and indicia of origin and other distinctive branding
features as specified on Exhibit A.

1.8 “Proprietary Materials." Materials to be delivered by one party to the other, .
or used by a party in connection with the delivery of services or the Software Product(s),
or for the performance of obligations hereunder.

1.9 “Registration Data." The following data records submitted by end-users of
Composite Product(s) as part of the registration process: school or district, address, and
email address.

1.10 “Proprietary Rights." Any and all rights, whether registered or unregistered,
in and with respect to patents, copyrights, confidential information, know-how, trade
secrets, moral rights, contract or licensing rights, confidential and proprietary information
protected under contract or otherwise under law, trade names, domain names, trade .
dress, logos, animated characters, trademarks, service marks, and other similar rights or
interests in intellectual or industrial property.

2. Derivative Works/Integration and Merger License And Restrictions. Subject to the
terms and conditions hereof, including without limitation, Exhibit A attached, and only for
term hereof, VIP hereby grants to MazikUSA to develop a .NET version solution based
on Virtual Impact’s current DIV specifications/source code and create a new product
called “MazikUSA/Virtual Impact Learning Content Management System”. (Composite
Product) .

3. Bundling/Compilation License And Restrictions. Subject to the terms and
conditions hereof, and only for the term hereof, the new product will be sold as an add-
on to the MazikUSA’s solution and will utilize the On-line assignment Patent. Itis
understood by the parties, that this joint partnership will not be misconstrued in that
Michelle Robinson or Robert Slider are giving up ownership in the Assignment Online
Patent 6,505,031, and other Intellectual Property and/or MazikUSA is giving up
ownership in their SIS Product and other Intellectual Property. Both companies will
continue to own their current products, copyrights and registered patents, provided that
the Composite Product(s) remain separate software offering QR EnINNIneasamnenennE

4, Distribution License; Sublicenses; Restrictions. Subject to the terms and
conditions hereof and only for the term hereof, VIP hereby grants to MazikUSA the right
-and license to use, publicly display, publish, and distribute the Composite Product(s) in

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object code form only, together with authorized derivative works based thereon, on a
standalone basis, and as part of bundied products and/or compilations with other works
only as expressly authorized above, and only through the authorized distribution
channel(s) specified below. MazikUSA is authorized to grant sublicenses only in
conformity with the Sublicense Terms provided on Exhibit C.

5. Authorized Distribution Channels. The distribution license granted above is
granted both (i) for distribution to end-users located in The United States through a
single tier of distribution consisting only of sales personnei with face-to-face contact with

end-users, and (ii) for distribution through the Retail Channels consisting of Resellers
located in The United Siates.

6. Co-Branding Requirements; Branding License, MazikUSA shall incorporate VIP _
Branding Features and designated copyright notice as specified by VIP into the
Composite Product(s), and MazikUSA is authorized to incorporate VIP Branding
Features in its discretion into MazikUSA web pages that feature Composite Product(s)
ee ees All distribution rights and licenses granted
herein for Composite Product(s) are subject to the forgoing co-branding requirements.
Subject to the terms and conditions hereof, and only for the term hereof, VIP hereby
grants to MazikUSA the non-exclusive, worldwide right and license to publicly display
VIP Branding Features on Composite Product(s) and on MazikUSA web pages for
purposes of promoting, marketing EEIEEHME! Composite Product(s).

7. Limited Exclusive License. The license granted herein is exclusive in that VIP
represents that VIP has not granted, nor will VIP during the term hereof, grant to another
MazikUSA competing integration and merger rights for Software Product(s) that are
competitive with Composite Product(s). VIP reserves the right to market the Software
Product(s) itself, without limitation.

8. Exclusive Dealing Restriction. During the term hereof, neither party shall
distribute, or act as an agent or representative of any developer, publisher, or
manufaciurer, of software programs that are functionally comparable or intended, by
applicable marketing and promotional programs directed to such products, to com
directly with the Software Product(s), Raza a ee

9. Irrevocable Agreement. This Agreement is irrevocable, an
terminate this Agreement by reason of a parties material breach

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i ees PCOvided, however, that inno event shall this provision be
construed to nullify any other remedy available to the parties for a material breach by a
party that is expressly provided herein or otherwise available at law or in equity.

10. Export. Software Product(s), including associated technical data, are subject to
United States export control laws, and may be subject to export or import regulation in
other countries. The parties agree to comply strictly with all such regulations, and
acknowledges that it has the responsibility to obtain such licenses to export, re-export, or
import Composite Product(s). The parties shall, at its own expense, obtain and arrange
for the maintenance in full force and effect of all governmental approvals, consents,
licenses, authorizations, declarations, filings and registrations as may be necessary or

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advisable for the performance of the terms and conditions of this Agreement, including
without limitation, fair trade approvals. '

11. Reservation of Rights. All rights not as granted to MazikUSA Fy

herein are expressly reserved by VIP

12. Marketing And Support Obligations. Each party shall perform the marketing and
support obligations in accordance with Exhibit B attached.

13. Royalties. MazikUSA and VIP shal! pay to the other in accordance with Exhibit A
attached. ,

14. Representations and Warranties; Indemnities. Each of the parties represents
and warrants to the other that: (i) each party has full legal right, power and authority to
enter into and perform this Agreement (including all Exhibits hereto); (ii) the Software

_ Product(s), Proprietary Materials and any branding features of either party specified
herein do not infringe or misappropriate any Proprietary Right of any third party, or
constitute defamation, invasion of privacy, or violate the privacy rights of any third party;
(iii) all Proprietary Rights or other rights in the Software Product(s), Proprietary Materials
and any branding features of either party specified herein are either owned by the
providing party or are properly sublicensed from third parties granting such party the
right to use same as contemplated hereunder; (iv) regarding the collection and use of
end-user data, each of the parties represents and warrants to the other that neither party
shall violate any rights of any person or entity, including, without limitation, rights of
publicity, privacy or personality; and (v) any and all sublicenses granted by MazikUSA in
connection with the Composite Product(s) shall be in compliance. with the Sublicense

. Terms provided on Exhibit C. Each party shall defend, indemnify and hold harmless the
other, its affiliates, successors, assigns, officers, directors, and employees from and
against any and all-claims, costs, damages, losses, liabilities, actions, recoveries,
judgments and expenses (including actual attomeys’ fees and expenses regardless of
whether litigation was commenced) arising out of or in connection with a breach/untruth
of any express representation and warranty made above in this Section (a “Claim”),
provided that: (i) the indemnified party promptly notifies the indemnifying party in writing
of the claim promptly upon the indemnified party becoming aware of such Claim; (ii) the
indemnifying party shall have exclusive control of the settlement or defense of any action
to which the Claim relates; and (iii) the indemnified party cooperates with the
indemnifying party in every reasonable way to facilitate such defense or settlement.
Once given notice of such Claim, if the indemnifying party does not defend any such
Claim, the indemnified party may take any of the above actions and shall be fully
indemnified by the indemnifying party. ,

15. Warranty Disclaimers. EXCEPT AS EXPRESSLY SET FORTH ABOVE, TO
THE EXTENT ALLOWED BY LAW, EACH PARTY ON BEHALF OF ITSELF AND ITS
SUPPLIERS HEREBY DISCLAIMS ALL WARRANTIES, BOTH EXPRESS AND
IMPLIED, INCLUDING THE IMPLIED WARRANTIES OF TITLE, NON-INFRINGEMENT,
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, SYSTEM
INTEGRATION, AND DATA ACCURACY. EACH PARTY ACKNOWLEDGES THAT IT
HAS NOT RELIED ON ANY REPRESENTATION THAT IS NOT EXPRESSLY SET OUT
HEREIN.

16. Disclaimer of Incidental and Consequential Damages. EXCEPT FOR

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INDEMNIFICATION OBLIGATIONS ESPRESSLY PROVIDED HEREIN, IN NO EVENT
SHALL EITHER PARTY BE LIABLE TO THE OTHER UNDER ANY THEORY
INCLUDING CONTRACT AND TORT (INCLUDING NEGLIGENCE AND STRICT
PRODUCTS LIABILITY) FOR ANY INDIRECT, SPECIAL OR INCIDENTAL OR
CONSEQUENTIAL DAMAGES, EVEN IF THE PARTY CAUSING SUCH DAMAGES
HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.

17. Limitation of Liability For Direct Damages. Except for indemnification obligations
expressly provided herein, the liability of the parties for direct damages shall be as
follows; (i) VIP’s maximum liability for direct damages of any kind arising out of this
Agreement shall be limited to the total amount of royalties paid by MazikUSA to VIP
hereunder, and (ii) MazikUSA’s maximum liability for direct damages of any kind arising
out of this Agreement shall be limited to the total amount of royalties payable by
MazikUSA to VIP hereunder.

18. Ownership of Composite Product(s). Title to the Proprietary Rights embodied in
the Composite Product(s) and in the Composite Product(s) Deliverables shall be the sole
and exclusive property jointly owned by VIP and MazikUSA. a re

19. Ownership of VIP Branding Features. Title to the Proprietary Rights embodied in
VIP Branding Features shall remain in and be the sole and exclusive property of VIP.
MazikUSA hereby acknowledges and agrees that (i) MazikUSA has no rights, title or
interest in or to the VIP Branding Features, and (ii) all use of the VIP Branding Features
shall inure to the benefit of VIP. MazikUSA shall not (i) apply for registration of the VIP
Branding Features (or any marks or features confusingly similar thereto) anywhere in the
world, (ii) alter, modify or change the VIP Branding Features in any manner, or (iii) use
any of the VIP Branding Features, except as expressly authorized herein or by prior
written approval of the owner thereof. .

20. Ownership of MazikUSA Branding Features. Title to the Proprietary Rights
embodied in MazikUSA Branding Features shail remain in and be the sole and exclusive
property of MazikUSA. VIP hereby acknowledges and agrees that (i) VIP has no rights,
title or interest in or to the MazikUSA Branding Features, and (ii) all use of the MazikUSA
Branding Features shall inure to the benefit of MazikUSA. VIP shall not (i) apply for
registration of the MazikUSA Branding Features (or any marks or features confusingly
similar thereto) anywhere in the world, (ii) alter, modify or change the MazikUSA
Branding Features in any manner, or (iii) use any of the MazikUSA Branding Features,
except as expressly authorized herein or by prior written approval of the owner thereof.

21. Joint Ownership of End-User Registration Data. The parties agree that all
Registration Data that end-users may convey during the registration process for the
Composite Product(s) shal! be jointly owned by MazikUSA and VIP. The parties agree
that during the term hereof, each party shall establish privacy policies that (i) permit the
collection of Registration Data, and (ii) the sharing of such Registration Data with the
other party.

22, Reciprocal Disclosure of Confidential Information. The parties anticipate that
each may disclose confidential information to the other. Accordingly, the parties desire to

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establish in this Section terms governing the use and protection of certain information
one party ("Owner") may disclose to the other party ("Recipient"). For purposes hereof,
"Confidential Information" means the terms and conditions hereof, and other information
of an Owner (i) which relates to Software Product(s), including business models and
plans, and technical information and data of Owner or its customers or suppliers, or (ii)
which, although not related to the Software Product(s), is nevertheless disclosed
hereunder, and which, in any case, is disclosed by an Owner or an affiliate to Recipient
in document or other tangible form bearing an appropriate legend indicating its
confidential or proprietary nature, or which, if initially disclosed orally or visually is
identified as confidential at the time of disclosure and a written summary hereof, also
marked with such a legend, is provided to Recipient within fifteen (15) days of the initial
disclosure. Recipient may use Confidential Information of Owner only for the purposes of
this Agreement and shall protect such Confidential Information from disclosure to others,
using the same degree of care used to protect its own proprietary information of ike
importance, but in any case using no less than a reasonable degree of care. Recipient
may disclose Confidential Information received hereunder only as reasonably required to
perform its obligations under this Agreement and only to its employees who have a need
to know for such purposes and who are bound by signed, written agreements to protect
the received Confidential Information from unauthorized use and disclosure, The
restrictions of this Agreement on use and disclosure of Confidential Information shall not
apply to information that: (i) is in the possession or controt of Recipient at the time of its
disclosure hereunder, (ii) is, or becomes publicly known, through no wrongful act of
Recipient; (iii) is received by Recipient from a third party free to disclose it without
obligation to Owner; or (iv) is independently developed by Recipient without reference to
Confidential Information. This section shall survive termination for any reason.

23. Confidentiality of Software Product(s). Notwithstanding the forgoing, specifically
regarding the Software Product(s), both Parties acknowledge claim that their respective
Software Product(s) source code embodies valuable trade secrets proprietary to each
party. Accordingly, each Party shall maintain a high degree of care to protect the
Software Product(s) source code from unauthorized access, disclosure, and use,
including without limitation, the placement of any Proprietary Rights notice on the
Software Product(s) that is reasonably requested by the parties. Neither party: (i)
distribute, transfer, loan, rent, or provide access to the Software Product(s), except as
provided herein; or (ii) remove or add any Proprietary Rights notice associated with the
Software Product(s) without the express written permission of the other party. [El

24. injunctive Relief. The parties hereby agree that any breach of any provision of
this Agreement regarding confidentiality or protection of Proprietary Rights would
constitute irreparable harm, and that the aggrieved party shall be entitled to specific
performance and/or injunctive relief in addition to other remedies at law or in equity.

25. Term Of Agreement. The initial term of this Agreement shall commence as of
the Effective Date hereof and shail continue for a period of ten (10) years. The initial
term hereof shall automatically renew for successive one (1) year terms unless either
party notifies the other in writing not less than ninety (90) days prior to the expiration of
the current term of its intention not to renew. Both the initial term and any renewal term
are subject to earlier termination as otherwise provided herein.

26. Automatic Termination. Unless either party prompily after discovery of the

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relevant facts notifies the other party to the contrary in writing, this Agreement will
terminate immediately without notice upon the institution of insolvency, bankruptcy, or
similar proceedings by or against the other party, any assignment or attempted
assignment by either party for the benefit of creditors, or any appointment, or application
for such appointment, of a receiver for the party.

If a petition is filed in any court to declare the other party bankrupt or for a
Reorganization of the other party under the bankruptcy laws or any similar statue and
such petition is not dismissed in ninety (90) days or if a Trustee in bankruptcy or a
Receiver or similar entity is appointed for one of the parties.

27. Termination for Cause..Either party may terminate this Agreement and all rights
granted herein for a material breach by the other party which remains uncured after
ninety (90) days from receipt of written notice describing the nature of the breach.

28. Effect of Expiration or Termination. Upon the expiration or termination hereof,
both parties shall cease distributing Composite Product(s) and any derivative works
based on the Composite Product(s). Notwithstanding anything to the contrary contained
herein, sublicenses for all Composite Product(s) in any form, including any derivative
works based on Composite Product(s), granted by a party prior to the expiration date or
the effective date of termination of this Agreement shall remain in full force and effect
following such dates. :

29. Arbitration. Except for actions to protect Proprietary Rights and to enforce an
arbitrator's decision hereunder, all disputes, controversies, or claims arising out of or
relating to this Agreement or a breach thereof shall be submitted to and finally resolved
by arbitration under the rules of the American Arbitration Association (“AAA”) then in
effect. There shall be one arbitrator, and such arbitrator shall be chosen by mutual
agreement of the parties in accordance with AAA rules. The arbitration shall take place
in Orlando, FL. The arbitrator shall apply the laws of the State of Florida, to alt issues in
dispute. The findings of the arbitrator shall be final and binding on the parties, and may
be entered in any court of competent jurisdiction for enforcement. Enforcements of any
award or judgment shall be governed by the United Nations Convention on the
Recognition and Enforcement of Foreign Arbitral Awards. Legal fees shall be awarded to
the prevailing party in the arbitration.

30. Notices. Any notice or communication required or permitted to be given
hereunder may be delivered by hand, deposited with an overnight courier, sent by email
or facsimile (provided delivery is confirmed), or-U.S. Mail (registered or certified only),
retumn receipt requested, in each case to the address set forth on the initial page hereof
or at such other addresses as shall be designated in writing by either party to the other
in accordance with this Section. Such notice will be deemed to be given when received.

31. Assignment. This Agreement is assignable by either party hereto with the
consent of the other, not to be unreasonably withheld. This Agreement shail be
assignable by MazikUSA or Virtual Impact Productions to an affiliate entity or upon the
sale of the right to license and sublicense the Products to the purchaser of said right.
This Agreement shall be binding upon and inure to the benefit of the parties and their
respective successors. Neither party may delegate any work or obligation to be
performed under this Agreement, without joint prior written consent. Any attempted
assignment or delegation in contravention of this Section without consent shall be void
and ineffective. . .

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32. Continuing Obligations. The following obligations shall survive the expiration or
termination hereof: (i) any and ail warranty disclaimers, limitations of liability and
indemnities granted by either party herein, (ii) any covenant granted herein for the

_ purpose of determining ownership of, or protecting, the Proprietary Rights, including
without limitation, the confidential information of either party, or any remedy for breach
thereof, and (iii) the payment of taxes, duties, or any money to parties hereunder.

33. Joint Program Partnership. The relationship of the parties is that of Joint Program
Partnership Agreement re MazikUSA {i develop a .NET based solution,
based on Virtual Impact’s current DIV specifications/source code and create a new
product called “MazikUSA/Virtual Impact Learning Content Management System’.
Neither party has the authority to enter into any additional agreements of any kind on
behalf of the other party and shall not have the power or authority to bind or obligate the

other ae in 7 manner to a third BY ae

34. Force Majeure. Neither VIP nor MazikUSA shail be liable for damages for any
delay or failure of delivery arising out of causes beyond their reasonable contro and
without their fault or negligence, including, but not limited to, Acts of God, acts of civil or
military authority, fires, riots, wars, embargoes, or communications failures.
Notwithstanding anything to the contrary contained herein, if either party is unable to
perform hereunder for a period of sixty (60) consecutive days, then the other party may
terminate this Agreement immediately without fiability by ten (10) days written notice to
the other.

35. Miscellaneous. This Agreement shall be construed under the laws of the State of
Florida, without regard to its principles of conflicts of law. This Agreement constitutes the
entire understanding of the parties with respect to the subject matter of this Agreement
and merges all prior communications, understandings, and agreements. This Agreement
may be modified only by a written agreement signed by the parties. The failure of either
party to enforce at any time any of the provisions hereof shall not be a waiver of such
provision, or any other provision, or of the right of such party thereafter to enforce any
provision hereof.

IN WITNESS WHEREOF, the parties have caused this Agreement to be duly executed
below.

Virtual Impact Productions, Inc.

Date:
Signature
By: Michelle Robinson, Founder
MazikUSA, Inc.

Date:
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Signature
By: Sid Siddiqui, Founder

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EXHIBIT A

_ SOFTWARE PRODUCT(S) DESCRIPTION, BRANDING FEATURES AND
PRICING

t. Software Product(s). Virtual Impact Productions, inc., has developed an ASP
based Learning Management System and other productivity tools including rights to an
industry patent to implement communication with parents in a Virtual environment.

MazikUSA and Virtual Impact will develop a .NET version of the current Virtual impact
DiV© program. This Program will be designed to work exclusively with the MazikUSA
Solution offering. The newly developed MazikUSA -Virtual Impact DIV will be equally
owned by both companies, in the existing English language version.

2. Software Product(s) Deliverable(s). VIP shall deliver to MazikUSA (i) a complete
set of master copies of Software Product(s) recorded compact disc (CDs) in source code
and object code form, (ii) one compiete set of user documentation in digital form, and (iii}
one copy of any programming tools and higher-level programming languages or
environments (and related documentation) required to support the Software Product(s)
that are not available on commercially reasonable terms on the open market of the °
existing English language version of the Software Produci(s) for use to develop a NET
based solution based on Virtual Impact’s current DiVO.

3. Composite Product(s). Only the following MazikUSA product(s) and/or new
functionality are authorized for integration and merger with the Software Product(s) to
create Composite Products: (i) “MazikUSA/Virtual Impact Learning Content Management
System”. This Program will be designed to work exe! usively with the MazikUSA Solution
offering. The newly developed MazikUSA -Virtual Impact DIV will be equally owned by
both companies, . .

4, Co-Branding For Composite Product(s).

4,1 For purposes hereof, "Branding Features” shall mean the MazikUSA-Virtual
Impact DIV logo to be incorporated into a splash screen at startup and into the About
box of each Composite Product.

4.2 For purposes hereof, "MazikUSA-Virtual Impact DIV Branding Features"
shall mean the MazikUSA-Virtual Impact DIV logo and word mark to be incorporated (i)
into a splash screen at startup and into the About box of each Composite Product, and
(ii) otherwise on any MazikUSA or Virtual Impact web site page featuring the Composite
Product(s). ,

5. Distribution Royalties.

5.1 Apportionment. Virtual Impact and MazikUSA will equally share in the gross
income from the license of this newly developed MazikUSA-Virtual impact DIV
“Program”, All additional profits, minus employee cost, from the training, sales of 37
party software, installation and other incomes derived from the “Program” will be shared
equally, as well, between the two parties, with the exception of travel expenses to be

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reimbursed to the traveling party. MazikUSA wiil also allow an option for Virtual Impact to
offer training and installation to its clients.

5.2 Periodic Per Unit Royalty. MazikUSA and Virtual Impact will sell the license
to this new “Program” to customers for $1295 per school, as suggested retail pricing. An
additional discount may be offered to customers, as agreed between the parties. Virtual
impact and MazikUSA will divide the profits from the sale of MazikUSA-Virtual impact
DIV Program equally. For purposes hereof, this Composite Product shail be deemed to
be "distributed" when a copy thereof is downloaded, transmitted electronically, shipped,
distributed, or otherwise transferred to a third party or accessible by a third party.

5.3 Royalty Period and Payment. The periodic royalty is payable on a monthly
basis not later than thirty (30) days from the close of each calendar month during the
term hereof GREE ene Eee (fF the initial period is a
partial period, the periodic royalty shall be pro-rated for such period.

5.4 Reporting And Audit Rights. At the time of each royalty payment, the
parties shall transmit to each other sales activities reports in the form of written and/or
electronic files by email attachment. Each sales activity report shall include the number
of sales and related revenue for all distributions during the royalty period broken down
by channel or method of distribution, The parties shail keep all such records and
supporting books, records, accounts, and logs, whether in electronic format or otherwise,
for a period of at least three (3) years from the date of each transaction. Upon three (3)
business days' advance written notice, the party or its agent shall have the right to
examine during normal business hours at The Party's principal place of business, The
Party's books, records, accounts, and logs, whether in electronic format or otherwise, to
the extent that such examination is necessary and pertinent to support and verify The
Party's sales activities reports required hereunder. If any audit reveals underpayment of
five percent (5%) or greater in royalties payable, then that Party shall, in addition to
promptly paying the underpayment, reimburse the other Party for all the costs and
expenses of the audit.

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EXHIBIT B
MARKETING AND SUPPORT OBLIGATIONS

1. VIP's Obiigations. VIP shall perform the following obligations at its cost and
expense, unless otherwise indicated.

1.1 Technical Contact. Within five (5) days of the Effective Date, VIP shall
appoint and notify MazikUSA of its technical contact. VIP’s technica! contact shall
coordinate all technical issues on behalf of VIP which arise out of this Agreement.

1.2 Location of Services. All VIP services hereunder shall be performed at

VIP's facilities or at the facilities of the VIP Site(s), unless otherwise agreed in writing by
VIP.

1.3 Technical Support. if MazikUSA has questions about the Software
Product(s), MazikUSA may notify VIP by telephone or through VIP’s designated
electronic mail support address. VIP shall assign VIP support contacts to siaff such
support lines and electronic mail at least from 9:00 a.m. fo 5:00 p.m., Eastern Time,
Monday through Friday, excluding national holidays. VIP will use its best efforis to
answer questions and correct reported errors that are reproducible and caused by VIP
(or to provide suitable temporary solutions or workarounds for problems) during the initial
response. If MazikUSA states that the reported error is substantial and material to |
MazikUSA’s use of the Software Product(s), or that the reported error causes the
Software Produci(s) to be inoperable, VIP will use its best efforts to correct the error,
within a commercially reasonable time after VIP's initial response.

1.4 Deliverables. Promptly after the Effective Date, VIP shall transmit to
MazikUSA all existing product specifications, source code, documentation in a form and
format that is mutually agreeable between the parties, so that MazikUSA can properly
develop the new “Program”.

1.6 Updates. VIP shall provide MazikUSA with reasonable prior notice of any
Updates for the Software Product(s), and VIP shall provide master copies of such
Updates to MazikUSA without additional charge.

1.7 Co-Marketing. VIP will co-market the new “Program” and increase
awareness using marketing collateral, video, web, audio, and other mechanisms.
Additionally VIP will inform existing and new customers of the availability of the new
“Program”. :

1.8 Enhancements. VIP will continue building enhancements to the core
product to ensure that the new “Program” is also keeping up with the technology and
user process change.

2. MazikUSA's Obligations. MazikUSA shall perform the following obligations
at its cost and expense, unless otherwise indicated.

. 2.1 Technical Contact. Within five (5) days of the Effective Date, MazikUSA
shall appoint and notify VIP of its technical contact. MazikUSA’s technical contact shall

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coordinate all technical issues on behalf of MazikUSA which arise out of this Agreement,
including without limitation, the obligations of MazikUSA specified in this Exhibit C.

2.2 Location os Services. All MazikUSA services hereunder shall be
performed at VIP’s facilities or at the facilities of the MazikUSA Site(s), unless otherwise
agreed in writing by MazikUSA.

2.3 Technical Support. If VIP has questions about the Software Product(s), VIP
may notify MazikUSA by telephone or through MazikUSA’s designated electronic mail
support address. MazikUSA shall assign MazikUSA support contacts to staff such
support lines and electronic mail at least from 9:00 a.m. to 5:00 p.m., Eastern Time,
Monday through Friday, excluding national holidays. MazikUSA will use its best efforts to
answer questions and correct reported errors that are reproducible and caused by
MazikUSA (or to provide suitable temporary solutions or workarounds for problems)
during the initial response. If VIP states that the reported error is substantial and material
to VIP's use of the Software Product(s), or that the reported error causes the Software
Product(s} to be inoperable, MazikUSA will use its best efforts to correct the error, within
a commercially reasonabie time after MazikUSA’s initial response. Additionally, Mazik
will contract with VIP for the use of VIP’s senior programmer during the integration
process and reimburse VIP at VIP’s usual and customary rates.

2.4 Co-market the newly developed “Program” with MazikUSA’s SIS offering to
the districts across the nation. Additionally MazikUSA will inform existing and new
customers of the availability of the new “Program”.

2.5 Fund and execute a market plan with partners to maximize Project
revenue. Seek sales and business development opportunities for the new solution.
Continually update Sales & Marketing Plan to reflect the alignment of market conditions.

2.6 Execute a detailed process to follow-up and close K-12 prospect and sales
leads.

2.7 Registration of End-Users. During the term hereof, MazikUSA shall
establish and maintain an online registration system for the Composite Product(s)
Suitable to capture Registration Data in digital form. MazikUSA shall transfer Registration
Data to VIP in the form and format as mutually agreed between the parties and in
accordance with a mutually agreed-upon schedule, but in no event less than monthly
during the term hereof.

2.8  MazikUSA (will grant ¥] exclusive contract to Virtual Impact to produce
video and graphics for training and sales promotions for “Composite Product’.
MazikUSA will fund the development of this work. All sales proceeds from the sale of
these “Composite Product” videos will be returned to MazikUSA until “Composite
Product’ expenditures have been matched. Once matched MazikUSA and Virtual
Impact will equally share in the profit of these sales.

2.9  MazikUSA will ZRREEG grant exclusive a contract to Virtual tmpact
to produce video and graphics for training and sales promotions for MazikUSA
Products”. MazikUSA will reimburse VIP at VIP’s usual and customary rates. MazikUSA
has the right to market VIP’s video and graphic production to their partners and clients.
VIP will pay MazikUSA a commision upon said sales, based upon the individual contract.

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EXHIBIT C
SUBLICENSE TERMS

1. Sublicense Terms For End-Users. The parties shall include terms and conditions
Substantially similar to the following (i) in terms of use to be incorporated into the parties
web sites and/or (ii) (i) a “shrink-wrapped" or “click-wrapped” license agreement that
clearly notifies the end-user that the use of the Composite Produci(s) subject to the
agreement and permits the end-user to indicate assent either by opening the product
package or by the clicking on a designated button or link. ,

1.1 Sublicense And Restrictions. Each sublicense for Composite Product(s)
shall grant non-exclusive rights for use and not for resale or distribution.

1.2 Proprietary Rights Provisions: (i) an acknowledgment that although
copyrighted, the Composite Product(s) embody valuable trade secrets proprietary to the
parties and/or the parties suppliers, (if) a covenant Prohibiting disassembly and
decompilation of the Composite Product(s), (iii) a covenant prohibiting the copying of the
Composite Product(s), except for a reasonable number of back-up copies and as
expressly authorized in the sublicense license grant, and {iv) a covenant prohibiting the
end-user from providing access to the Composite Product(s) to any person for any
purpose other than processing the end-user's internal data for the intended use of the
Composite Product(s).

1.3 Warranties. The parties shall not be authorized to grant any warranty
binding the other party regarding the performance, condition, title, non-infringement,
merchantability, fitness for a particular purpose, system integration, or data accuracy of
the Composite Product(s). The parties shall disclaim all warranties implied by law as
permitted by applicable law. If either party grants an express warranty binding the other
party regarding the performance and/or condition of the Composite Product(s), such
express warranty shall not exceed the scope of, or be inconsistent with, any express
warranty given by the parties for the Software Product(s).

1.4 Limitation of Liability. Both parties shall on behalf of itself and all of its
suppliers and licensors, disclaim any and all liability for incidental and consequential
damages as permitted by applicable law.

1.5 U.S. GOVERNMENT END USERS, MazikUSA shall provide that the
Composite Product(s) constitute a commercial item," as that term is defined in 48 C.E.R.
2.101 (Oct. 1995), consisting of "commercial computer software’ and "commercial
computer software documentation," as such terms are used in 48 C.F.R. 12.212 (Sept.
1995). Consistent with 48 C.F.R. 12.212 and 48 C.F.R. 227.7202-1 through 227.7202-4
(June 1995), all U.S. Government end-users acquire the Software Product(s) with only
those rights set forth herein. -

2. Sublicense Terms For Resellers. The parties shall include terms and conditions
substantially similar to the following in written sublicense agreements, signed by a duly
authorized represeniative of the Reseller.

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2.1 Sublicense And Restrictions. Each sublicense shail (i) grant rights no
greater in scope than the license rights provided herein, and {ii} provide licensing
restrictions no less restrictive than those provided herein: provided, however, each
Reseller shall be authorized to grant sublicenses only to end-users and not to other
Resellers.

2.2 Proprietary Rights Provisions: (i) an acknowledgment that although
copyrighted, the Composite Product(s) embody valuable trade secrets proprietary to the
parties and/or the partie’s suppliers, and (ii) a covenant prohibiting disassembly and
decompilation of the Composite Product(s).

2.3 Warranties. The parties shail not be authorized to grant any warranty
binding the other party regarding the performance, condition, title, non-infringement,
merchantability, fitness for a particular purpose, system integration, or data accuracy of
the Composite Product(s). Both parties shall disclaim all warranties implied by law as
permitted by applicable law. lf MazikUSA grants an express warranty binding MazikUSA
regarding the performance and/or condition of the Composite Product(s), such express
warranty shall not exceed the scope of, or be inconsistent with, any express warranty
given by the parties for the Software Product(s).

2.4 Limitation of Liability. Both parties shall on behalf of itself and all of its
suppliers and licensors disclaim any and ail liability for incidental and consequential
damages as permitted by applicable law.

2.5 U.S. GOVERNMENT END USERS. The parties shal! require all Resellers
to provide in all sublicenses for the Composite Product(s) that the Composite Produci(s)
constitute a "commercial item," as that term is defined in 48 C.F.R. 2.104 (Oct. 1995),
consisting of “commercial computer software" and "commercial computer software
documentation," as such terms are used in 48 C.F.R. 12.212 (Sept. 1995). Consistent
with 48 C.F.R. 12.212 and 48 C.F.R. 227.7202-1 through 227.7202-4 (June 1995), ail
U.S. Government end users acquire the Composite Product(s) with only those rights set
forth herein.

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Exhibit F
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
TYLER TECHNOLOGIES, INC., §
§
Plaintiff, §
§
v. § CIVIL ACTION NO. 3-06-cv-1693-P
§ ECF
VIRTUAL IMPACT PRODUCTIONS, INC., §
§
Defendant. §

PLAINTIFE’S FIRST AMENDED COMPLAINT

Plaintiff, Tyler Technologies, Inc. (“Tyler”) files this First Amended Complaint against
Defendants, Virtual Impact Productions, Inc. (“VIP”), Robert Slider, and Michele Robinson, and
for its causes of action would show the Court the matters set forth below.

The Parties

1. Plaintiff Tyler is a corporation formed under the laws of the State of Delaware,
with its principal place of business located at 5949 Sherry Lane, Suite 1400, Dallas, Texas
75225.

2. Defendant VIP is a Florida corporation having a principal place of business at 607
St. Andrews Drive, Sarasota, Florida 34243.

3. Defendant Robert Slider (“Slider”) is an individual. Slider resides in the state of
Florida and may be served with process by serving him in person at 607 St. Andrews Drive,
Sarasota, Florida 34243, or wherever else he may be found.

4. Michele Robinson (“Robinson”) is an individual. Robinson resides in the state of
Florida and may be served with process by serving her in person at 607 St. Andrews Drive,

Sarasota, Florida 34243, or wherever else she may be found.

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Jurisdiction and Venue

5. This case is an action for declaratory judgment pursuant to Title 28, United States
Code, § § 2201-2202 and Title 35, United States Code, § 101 ef seg., as to non-infringement of
alleged patent rights and an action for declaratory judgment for related state law causes of action,
some of which necessarily depend on resolution of a substantial question of federal patent law.
In addition, the Court has jurisdiction over this case pursuant to 28 U.S.C. § 1332(a)(1) because
the matter in controversy exceeds $75,000.00, exclusive of interests and costs, and is between
citizens of different States. In sum, the Court has subject matter jurisdiction pursuant to 28
U.S.C. § § 1331, 1332, 1338, 2201, and, to the extent necessary, 1367.

6. Venue is proper within this judicial district and division under 28 U.S.C. § 1391
because a substantial part of the events or omissions giving rise to the claim occurred in Dallas
County.

Background Facts

7. Tyler designs, develops and markets software products for use by local
governments.

8. Tyler received a letter dated September 7, 2006, a copy of which is attached
hereto as Exhibit “A” and is incorporated herein by reference for all purposes. Exhibit A accuses
Tyler of infringing U.S. Patent No. 6,505,031 (the “‘031 Patent”) for a “virtual school
environment” by “aggressively marketing the proprietary technology Virtual.” Exhibit A at 1.

9, Until recently, VIP claimed and admitted that it owned the ‘031 Patent. Slider
and Robinson now allege ownership of the ‘031 Patent.

10. Slider and Robinson are officers and/or directors of VIP. On information and

belief, Slider and Robinson are the majority shareholders of VIP.

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11. On information and belief, VIP owns the ‘031 Patent.

12. In the alternative, VIP and/or Robinson and/or Slider own the ‘031 Patent.

13. Exhibit A asserts that “Tyler has severely damaged the patent of Virtual” through
Tyler’s application of the virtual school environment “as is protected in United States Patent
6,505,031.” Exhibit A at 2 (emphasis in original). Exhibit A alleges that the patent owner “is
damaged because [the patent owner] cannot exclusively market its patent.” Jd. Exhibit A also
states that the patent owner will suffer “negative tax consequences in the loss of exclusivity of
the patent to Virtual.” Jd.

Request For Declaratory Judgment

14. __ By virtue of VIP, Slider and/or Robinson’s actions, including misrepresentations
concerning ownership of the ‘031 Patent, an actual controversy exists between the parties
regarding ownership and/or control of the ‘031 Patent.

15. Tyler requests a declaration that VIP is the effective owner of the ‘031 Patent for
the purposes of this litigation.

16. Tyler requests a declaration that Robinson and/or Slider be held individually
liable for the acts and obligations of VIP.

17. By virtue of VIP, Slider and/or Robinson’s actions, including threats of litigation,
accusations of infringement, and allegations of damages suffered, a reasonable apprehension
exists on Tyler’s behalf that Tyler will be wrongfully sued for infringement of the ‘031 Patent.
An actual controversy therefore exists between the parties with respect to whether Tyler’s
actions, if any, infringe any valid claim of the ‘031 Patent.

18. Tyler requests a declaration that the ‘031 Patent is invalid.

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19. Tyler requests a declaration that its actions do not infringe any valid claim of the
‘031 Patent.

20. _‘ By virtue of VIP, Slider and/or Robinson’s actions, including threats of litigation,
accusations of unspecified contract and/or tort violations, and allegations of damages suffered, a
reasonable apprehension exists on Tyler’s behalf that Tyler will be wrongfully sued. An actual
controversy therefore exists between the parties.

21. Tyler requests a declaration that it has not damaged VIP, Slider and/or Robinson
by any state law cause of action.

Prayer

WHEREFORE, Tyler prays:

(a) that the Court declare the ‘031 Patent invalid;

(b) that the Court declare that Tyler’s actions do not infringe the ‘031 Patent;

(c) that the Court declare VIP the effective owner of the ‘031 Patent for the purposes
of this litigation;

(d) that the Court declare that Robinson is individually liable for the acts and
obligations of VIP;

(ec) that the Court declare that Slider is individually liable for the acts and obligations
of VIP;

(f) that the Court declare that Tyler’s actions do not support any state law causes of
action by VIP, Robinson, or Slider based in tort and/or contract;

(g) that Tyler be awarded its costs of court;

(h) that Tyler be awarded its attorneys’ fees; and

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(i) that Tyler be awarded such other and further relief as this Court shall deem just

and proper.

Respectfully submitted,

HUGHES & LUCE, L.L.P.

/s/ John W. Patton

John W. Patton

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TECHNOLOGIES, INC.

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